Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 9:23-CR-80101-CANNON

  UNITED STATES OF AMERICA,

  v.

  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

                          Defendants.
  ___________________________________/

                                     JOINT STATUS REPORT

         The remaining parties to this litigation, the United States, Waltine Nauta, and Carlos De

  Oliveira, hereby file this Joint Status Report with the Court.

             Agreed Upon Positions of the Parties Regarding the Release of Volume II

         The United States does not object to the Court keeping its order enjoining the Attorney

  General of the United States and the Department of Justice from releasing Volume II outside the

  Department of Justice, or sharing any information contained in Volume II with anyone outside the

  Department of Justice, in place. The United States understands and appreciates the arguments

  made by Waltine Nauta and Carlos De Oliveira regarding the prejudice they would suffer if

  Volume II were to be released.

         The United States, Waltine Nauta, and Carlos De Oliveira also agree that under no

  circumstances should the Court order the release of Volume II of Jack Smith’s confidential Final

  Report.1


  1
    The United States, Waltine Nauta, and Carlos De Oliveira also agree that the pending motions
  to intervene filed by American Oversight and Knight Institute should be denied. The United
  States, Waltine Nauta, and Carlos De Oliveira will address the arguments presented by American
  Oversight and Knight Institute in their respective responses to the pending motions to intervene.
                                                    1
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 2 of 8




         The United States, Waltine Nauta, and Carlos De Oliveira further agree that if the Court

  lifts its Injunction Order, the Court should require the Department of Justice to provide written

  notice to counsel for Waltine Nauta and counsel for Carlos De Oliveira sixty days prior to releasing

  a redacted version of Volume II outside the Department of Justice.           This would allow the

  defendants to seek appropriate relief from this Court, if the Attorney General ever expresses an

  intention to release Volume II outside the Department of Justice.

                    United States’ Positions Regarding the Release of Volume II

         In the event the Court is inclined to lift the Injunction Order, the United States submits the

  decision to release Volume II to outside the Department of Justice should rest with the sound

  discretion of the Attorney General of the United States. See 28 C.F.R. §§ 600.8(c), 600.9(c).

  The United States recognizes that when the Court entered its Injunction Order, Waltine Nauta and

  Carlos De Oliveira still faced the prospect of criminal trials on the charges contained in the

  Superseding Indictment. The Court’s Injunction Order was necessary and appropriate. At this

  juncture, the United States Attorney’s Office for the Southern District of Florida does not intend

  to revive the charges brought by Special Counsel Smith, and the Attorney General of the United

  States has not expressed an intent to release Volume II outside the Department of Justice. If the

  Court is inclined to lift the Injunction Order, it is the Attorney General’s prerogative to determine

  whether the release of Volume II “would be in the public interest[.]” 28 C.F.R. § 600.9(c).

         The Court should also decline any invitation to conduct an in camera review of the grand

  jury materials related to this prosecution. The Attorney General has not ordered the release of

  Volume II, nor has any court of competent jurisdiction ordered the Department of Justice to release

  Volume II. Unless and until either of those contingencies comes to fruition, it would be premature

  for the Court to engage in a Rule 6(e) analysis. Moreover, this Court has held that Jack Smith’s

                                                    2
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 3 of 8




  appointment violated the Appointments Clause of the United States Constitution, and therefore his

  investigation was invalid. Finaly, the Department of Justice, not the Court, is responsible for

  redacting any grand jury material in Volume II.

     Positions of Waltine Nauta and Carlos De Oliveira Regarding the Release of Volume II

         Mr. Nauta and Mr. De Oliveira agree that a desirable resolution is one that would avoid the

  arduous task of dissecting Volume II of the unconstitutional Special Counsel’s report to identify

  and seek protection for additional 6(e) and other confidential information. They also agree that

  the Court should not order the Attorney General to release the Report. They agree that if the Court

  decides to dissolve its Order enjoining the release of the Report, it would be appropriate to require

  the Justice Department to first provide them with sixty days’ notice in the event of any form of

  release of the Report, so that they could seek appropriate relief from this Court. They appreciate

  and do not dispute that the Attorney General has given no indication that she intends to release the

  Report, and that the United States Attorney’s Office for the Southern District of Florida does not

  intend to revive the charges brought by former alleged Special Counsel Jack Smith.

         However, the statute of limitations has not yet expired in this matter, and Mr. Nauta and

  Mr. De Oliveira respectfully request that the Court maintain its supervision over this exceptionally

  complex case and continue to enjoin the release of the Report, and that doing so would not be a

  usurpation of the Attorney General’s authority to release or withhold the Report under DOJ’s

  Special Counsel regulations. To start, permitting the release of the one-sided Report would also

  amount to an unjust use of court-controlled grand jury processes to effect further disparagement

  of Mr. Nauta and Mr. De Oliveira, who remain bound by the Court’s Rule 16 Protective Order

  (ECF No. 27) precluding them from effectively defending themselves against the recently-

  evaporated Special Counsel’s allegations and who now lack the protections afforded by trial rights

                                                    3
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 4 of 8




  including compulsory process. 2     They endured approximately a year-and-a-half of rampant

  pretrial publicity and vilification after their indictments were sought by an unconstitutionally

  appointed prosecutor with unconstitutionally limitless funding, who then went on to use the

  materials he collected in his unlawful investigation (at continued unconstitutional expense) to craft

  the Report intended to justify his actions. Allowing the Government to release a one-sided

  defense of such an impermissible prosecution while effectively tying the hands of the defense at

  this stage of the matter would violate Mr. Nauta’s and Mr. De Oliveira’s due process rights and

  Local Rule 77.2’s prohibition against releasing information or opinion where there is “a reasonable

  likelihood that such dissemination will interfere with a fair trial or otherwise prejudice the due

  administration of justice.” S.D. Fla L.R. 77.2. (emphasis added), see also ECF No. 714 at 9. The

  Report should be relegated to the dustbin of history, where it belongs, in order to prevent further

  unjust prejudice to Mr. Nauta and Mr. De Oliveira. Should the Court decide otherwise, it should

  absolve the defense counsel of all of their obligations under its Rule 16 Protective Order, although

  even that would leave the interests of other innocent third parties unprotected.

         Mr. Nauta and Mr. De Oliveira remain concerned that the Freedom of Information Act

  (FOIA), 5 U.S.C. § 522, presents opportunities for mischief that might one day force the Attorney

  General’s hand, despite her good faith intention to maintain the Report’s confidential status. As

  the Court has seen in recent weeks, the Justice Department’s decision on the Report’s release is

  not simply contingent on the Government’s position. Several parties have sought public release

  of the Report through the FOIA, and thus far, two of those parties have sought to intervene in this



  2
    Importantly, defendants were litigating additional constitutional violations at the time of the
  dismissal of the indictment, including motions for suppression as to unlawful seizures. Release
  of the Report, including to the extent premised on illegally seized material, would compound the
  asserted constitutional violations.
                                                    4
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 5 of 8




  case asking the Court to rescind its January 21, 2025, Order. See American Oversight’s Expedited

  Motion to Intervene and for Clarification or, Alternatively, Dissolution of January 21, 2025 Order

  Granting Defendants’ Emergency Motion to Preclude Release of Volume II of the Special

  Counsel’s Report (ECF No. 717); Motion of the Knight First Amendment Institute at Columbia

  University to Intervene and Seek Rescission of the Court’s January 21, 2025 Order and Public

  Release of Volume II of the Special Counsel’s Report (ECF No. 721) (noting at least two additional

  FOIA requests at n. 11).

         The Court should also retain jurisdiction and continue to enjoin the Report’s release

  because it is not at all clear that its dismissal of the Superseding Indictment, or the Eleventh

  Circuit’s dismissal of the appeal, extinguishes jeopardy for any of the three former co-defendants.

  The Government’s Motion to Dismiss the Appeal as to Donald J. Trump (11th Cir. ECF No. 79)

  states that, “[d]ismissing the appeal as to defendant Trump will leave in place the district court’s

  order dismissing the indictment without prejudice to him.” Id. This Court noted in its January

  21, 2025, Order that “Counsel [for the Government] during the hearing was unable to answer

  whether the Department has foreclosed reinitiating criminal charges against President-Elect Trump

  after he leaves office” (ECF No. 714 at n.15). With respect to Mr. Nauta and Mr. De Oliveira,

  the Eleventh Circuit’s dismissal of the appeal “with prejudice” simply precludes the Government

  from initiating a new appeal of this Court’s July 15, 2024, Order dismissing the Superseding

  Indictment and directing the Clerk to close the case. The Order did not state that the dismissal

  was with prejudice, and it did not preclude the Government from re-indicting the case through a

  constitutionally valid officer, notwithstanding the fact that the current occupants of those positions

  do not intend to proceed. It is also clear that the offenses charged here, which are alleged to have

  occurred in 2022, are not time-barred by the relevant statutes of limitations (ten-years for violations

                                                     5
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 6 of 8




  of 18 U.S.C. § 793(e) (64 Stat. 1005), five-years for 18 U.S.C. §§ 1512, 1519, 1001 (18 U.S.C. §

  3282)). Because jeopardy arguably remains for all three former co-defendants, their due process

  rights remain a serious concern that strongly outweighs any interest that the Government or the

  public might have in the release of the Special Counsel’s Report.

            This Court’s concerns about protecting confidential information in the Report are also left

  unaddressed by the dismissal of the appeal, and newly involved (and now gone) Government

  counsel were unprepared to address that issue at the January 17, 2025, hearing (see ECF No. 714

  at 6). Mr. Nauta and Mr. De Oliveira maintain that the Government’s proposed redactions of

  transcribed statements before the grand jury too narrowly apply the prohibitions of Rule 6(e) and

  fail to protect information presented to the grand jury from disclosure, including information over

  which President Trump asserted Attorney-Client Privilege that this Court did not have an

  opportunity to consider. Grand jury secrecy not only “encourages full and frank testimony on the

  part of witnesses, and prevents interference with the grand jury’s deliberations,” it also “helps to

  protect the innocent accused from facing unfounded charges ….” Pitch v. United States, 953 F.3d

  1226, 1229 (11th Cir. 2020) (en banc) (citing Douglas Oil Co. v. Petrol Stops Nw, 441 U.S. 211,

  219 (1979)). The Report also contains argument and information that would have been the subject

  of motions in limine and pursuant to Fed. R. Crim. P. 404(b), that are inappropriate for disclosure.

            Because jeopardy arguably remains for the defendants in this highly publicized and

  political case, the Report itself contains Rule 6(e) and other confidential information, and the

  Report’s release would unfairly prejudice Mr. Nauta and Mr. De Oliveira, who are prohibited from

  defending themselves, Mr. Nauta and Mr. De Oliveira respectfully request that this Court maintain

  its January 21, 2025 Order prohibiting the release of Volume II of the Special Counsel’s Final

  Report.

                                                     6
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 7 of 8




                                            Respectfully submitted,

                                            HAYDEN P. O’BYRNE
                                            UNITED STATES ATTORNEY

                                     By:    /s/Michael D. Porter______________
                                            Michael D. Porter
                                            Assistant United States Attorney
                                            Florida Bar# 0031149
                                            101 South U.S. Highway 1
                                            Suite 3100
                                            Fort Pierce, Florida 34950
                                            Telephone: (772) 293-0950
                                            Email: michael.porter2@usdoj.gov


                                     By:    s/Richard Carroll Klugh, Jr._______
                                            Richard Carroll Klugh, Jr.
                                            25 SE 2nd Avenue Suite 1100
                                            Miami, Florida 33131
                                            Tel: 305-536-1191
                                            Email: rickklu@aol.com
                                            Counsel for Waltine Nauta

                                     By:    /s Larry Donald Murrell, Jr.
                                            LARRY DONALD MURRELL, JR.
                                            FLORIDA BAR NO: 326641
                                            400 Executive Center Drive
                                            Suite 201—Executive Center Plaza
                                            West Palm Beach, FL 33401
                                            Telephone: 561.686.2700
                                            Facsimile: 561.686.4567
                                            Email: ldmpa@bellsouth.net

                                     By:    s/John S. Irving__________________
                                            John S. Irving
                                            E & W Law
                                            1455 Pennsylvania Ave., NW, Suite 400
                                            Washington, D.C. 20004
                                            Tel: 301-807-5670
                                            John.Irving@earthandwatergroup.com
                                            Counsel for Carlos De Oliveira




                                        7
Case 9:23-cr-80101-AMC Document 738 Entered on FLSD Docket 03/14/2025 Page 8 of 8




                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2025, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

  indicated on the electronic filing receipt. All other parties will be served by either regular U.S.

  mail or inter-office delivery.

                                                        /s/Michael D. Porter______ ___
                                                        Michael D. Porter
                                                        Assistant United States Attorney




                                                    8
